                                           Case 5:18-cv-04081-BLF Document 76 Filed 07/18/22 Page 1 of 1




                                   1

                                   2

                                   3

                                   4                                    UNITED STATES DISTRICT COURT

                                   5                                   NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7     OSKAR LIZARRAGA-DAVIS,                             Case No. 18-cv-04081-BLF
                                                          Plaintiff,
                                   8
                                                                                            ORDER OF REFERENCE TO
                                                    v.                                      MAGISTRATE JUDGE FOR
                                   9
                                                                                            SETTLEMENT
                                  10     TRANSWORLD SYSTEMS INC.,
                                                          Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13            Plaintiff’s motion for partial summary judgment having been granted and Defendant’s

                                  14   motion for summary judgment having been denied, this matter is referred, pursuant to Civil Local

                                  15   Rule 72-1,

                                  16                     [ ]    for random assignment to a United States Magistrate Judge

                                  17                     [x]    to United States Magistrate Judge Magistrate Judge Nathanael M. Cousins

                                  18   to conduct a settlement conference.

                                  19            The parties shall contact Magistrate Judge Cousins’ Courtroom Deputy Clerk, Lili Harrell,

                                  20   at Lili_Harrell@cand.uscourts.gov to obtain a date for the settlement conference.

                                  21            IT IS SO ORDERED.

                                  22

                                  23   Dated: July 18, 2022

                                  24                                                    ______________________________________
                                                                                        BETH LABSON FREEMAN
                                  25                                                    United States District Judge
                                  26
                                  27

                                  28
                                       Rev. 10-18
